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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 U.S. COMMODITY FUTURES TRADING                  )
 COMMISSION,                                     )
                                                 )
                Plaintiff,                       )
                                                 )     Case No. 15 C 2881
        v.                                       )
                                                 )     Judge John Robert Blakey
 KRAFT FOODS GROUP, INC. and                     )
 MONDELĒZ GLOBAL LLC,                            )
                                                 )
                Defendants.                      )

                                    NOTICE OF MOTION

       PLEASE TAKE NOTICE that on Monday, August 19, 2019 at 10:30 a.m., or as soon

thereafter as counsel may be heard, Defendants shall appear before the Honorable John Robert

Blakey in Courtroom 1203 of the United States District Court, Northern District of Illinois, 219

South Dearborn Street, Chicago, Illinois, and then and there present Defendants’ Motion for

Contempt, Sanctions, and Other Relief.



 Dated: August 16, 2019                          Respectfully submitted,

                                                 KRAFT FOODS GROUP, INC. and
                                                 MONDELĒZ GLOBAL LLC

                                                 /s/ Dean N. Panos
                                                 Dean N. Panos
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